                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

DORIS ANN SCOTT and ORIEL                        )
MOORE,                                           )
                                                 )
                       Plaintiffs,               )
                                                 )
v.                                               )       Case No.: 2:24-cv-04107-MDH
                                                 )
TREVOR FOLEY, in his official and                )
Individual capacity as Director of the           )
Missouri Department of Corrections, et al.,      )
                                                 )
                       Defendants.               )

                                              ORDER

       Before the Court is Defendants Justin M. Leggins and Jacob A. Case’s (collectively

“Defendants”) Motion to Stay Proceedings (Doc. 55). Defendants have filed their suggestions in

support (Doc. 56), Plaintiffs have filed their suggestions in opposition (Doc. 68) and Defendants

have filed a reply (Doc. 87). The motion is now ripe for adjudication on the merits. For the reasons

stated herein, Defendants’ Motion to Stay Proceedings is DENIED.

                                        BACKGROUND

       This action arises from the death of a prisoner at the Jefferson City Correctional Center.

Plaintiff Doris Ann Scott is a resident of the State of Colorado and the biological mother of

Decedent Othel Moore, Jr. Plaintiff Oriel Moore is a resident of the State of Colorado and the

biological sister of the Decedent. Defendant Trevor Foley is an employee of the State of Missouri

and the Director of the Missouri Department of Corrections (“MDOC”). Defendant Kelly Morriss

is an employee of the State of Missouri and the Warden of the Jefferson City Correction Center

(“JCCC”). Defendant Centurion of Missouri, LLC is a limited liability company formed under

Missouri law that provided health care services at JCCC. Defendant Justin Davison is a resident


                                                 1
      Case 2:24-cv-04107-MDH           Document 104        Filed 04/03/25      Page 1 of 10
of Missouri and an employee at the MDOC as the JCCC Corrections Emergency Response Team

(“CERT”) Field Commander. Defendants Justin M. Leggins, Jacob A. Case, Aaron C. Brown,

Gregory H. Varner, Bryanne M. Bradshaw, Ryan Williams, William Wells, Craig Glatzczak,

Zachary Kopp, Onyewuchi Nkwocha, and Sean Reynolds are all residents of Missouri and were

employed at MDOC as members of a MDOC CERT unit. Defendant Jennifer Long is a resident

of Missouri and was an employee of Defendant Centurion of Missouri, LLC.

       On December 8, 2023, CERT Defendants initiated cell inspections at JCCC in the housing

unit where Decedent was detained. Allegedly Defendants Leggins, Glatczak and Wells entered

Decedent’s cell. Decedent was removed from his cell with his hands in wrist restraints behind his

back. Defendant Leggins allegedly stepped toward Decedent and pepper sprayed him in the face

at close range. Defendants Wells and Glatzchak allegedly took Decedent to the ground where

Defendant Case administered pepper spray at close range. Decedent was then escorted to the “day

room” where Defendant Davison allegedly ordered Decedent to be placed in a wrap restraint

device. Decedent was also placed in a spit mask, covering a portion of Decedent’s face, including

his mouth and nose. It is further alleged Cert Defendants placed a helmet on Decedent and

transported him to a “dry cell” where Defendants Koop, Bradshaw, Reynolds, and Nkowcha

monitored Decedent. Decedent was alleged to have struggled to breath for 30 minutes before

becoming unresponsive. Defendant Long examined the Decedent before emergency medical

services arrived at JCCC. Decedent was later pronounced dead due to positional asphyxiation as

the cause of death.

       Defendants Leggins and Case answered questions as part of an internal investigation from

the Missouri Department of Corrections regarding the incident. Defendants also answered

questions from the Cole County Sheriff’s Department in their criminal investigation. On



                                               2
      Case 2:24-cv-04107-MDH          Document 104       Filed 04/03/25      Page 2 of 10
September 12, 2024, Defendant Leggins and Defendant Case each were charged in the Circuit

Court of Cole County Missouri with a count of accessory assault in the third degree and one count

murder in the second degree. See Case No. 24AC-CR00884-01-OCN and Case No. 24AC-

CR00881-01-OCN.

        Defendants bring their motion seeking a stay of the proceedings against them pending

resolution of their respective criminal charges issued against them. Plaintiffs argue that a stay is

inappropriate because Defendants have already waived their Fifth Amendment right against self-

incrimination. Plaintiffs further argue that even if Defendants have not waived their Fifth

Amendment right entirely, Plaintiffs should be allowed to conduct discovery regarding topics for

which they have already provided testimony. Lastly, Plaintiffs argue that even if Defendants have

not waived their Fifth Amendment right, this matter does not meet the extraordinary requirements

of a stay.

                                           STANDARD

        “The power to stay proceedings is incidental to the power inherent in every court to control

the disposition of the causes on its docket with economy of time and effort for itself, for counsel,

and for litigants.” Landis v. North Am. Co., 299 U.S. 248, 254 (1936). “How this can best be done

calls for the exercise of judgment, which must weigh competing interests and maintain an even

balance.” Id. at 254-55. “Justice must be done in both criminal and civil litigation. The rights of a

defendant in a criminal case must, of course, be protected. But this does not mandate a complete

disregard for the rights of civil litigants.” General Dynamics Corp. v. Selb Mfg. Co., 481 F.2d

1204, 1213 (8th Cir. 1973). “A stay of a civil trial until factually related criminal proceedings are

concluded is sometimes warranted. However, a civil defendant cannot hide behind a blanket

invocation of the Fifth Amendment privilege.” Koester v. American Republic Invs., Inc., 11 F.3d



                                                 3
      Case 2:24-cv-04107-MDH           Document 104         Filed 04/03/25      Page 3 of 10
818, 823 (8th Cir. 1993). “Therefore, to warrant a stay, a defendant must make a strong showing

either that the two proceedings are so interrelated that he cannot protect himself at the civil trial

by selectively invoking his Fifth Amendment privilege, or that the two trials will so overlap that

effective defense of both is impossible.” Id.

                                            ANALYSIS

I.     Waiver of Fifth Amendment Rights

       Plaintiff argues that Defendants Leggins and Case have waived their Fifth Amendment

right against self-incrimination by voluntarily providing testimony to the Missouri Department of

Corrections’ internal investigation and to the Cole County Sheriff’s Department investigators

during the criminal investigation into the death of Othel Moore, Jr. Defendants argue they have

not waived their Fifth Amendment right as they have not testified under oath in any capacity nor

is it the responsibility of this Court to determine whether the Fifth Amendment was waived but

that of the criminal court.

       The Fifth Amendment provides that no person “shall be compelled in any criminal case to

be a witness against himself.” Minnesota v. Murphy, 465 U.S. 420, 426, 104 S. Ct. 1136, 1141, 79

L. Ed. 2d 409 (1984) (quoting U.S. Const. amend. V). This prohibition permits a person to refuse

to testify against himself at a criminal trial in which he is a defendant, but also “privileges him not

to answer official questions put to him in any other proceeding, civil or criminal, formal or

information, where the answers might incriminate him in future criminal proceedings.” Id.

(quoting Lefkowitz v. Turley, 414 U.S. 70, 77, 94 S.Ct. 316, 322 38 L.Ed.2d 274 (1973)). For a

defendant to waive his Fifth Amendment right against self-incrimination, his waiver must be

knowing, intelligent, and voluntary. Miranda v. Arizona, 384 U.S. 436, 444, 86 S.Ct. 1602, 16

L.Ed.2d 694 (1966). A waiver is knowing and intelligent if it is “made with a full awareness of



                                                  4
      Case 2:24-cv-04107-MDH            Document 104         Filed 04/03/25      Page 4 of 10
both the nature of the right being abandoned and the consequences of the decision to abandon it.”

United States v. Syslo, 303 F.3d 860, 865 (8th Cir. 2002). It is voluntary if it is “the product of a

free and deliberate choice rather than intimidation, coercion, or deception.” Id. “to determine

whether a waiver or a confession was voluntary, a court looks at the totality of the circumstances

and must determine whether the individual’s will was overborne.” Id. at 866. “There is a

presumption against the waiver of constitutional rights[.]” Williams v. Brewer, 509 F.2d 227, 232

(8th Cir. 1974) (citing Glasser v. United States, 315 U.S. 60, 70-71 (1942)).

       Here, the Fifth Amendment right against self-incrimination applied to both the Missouri

Department of Corrections internal investigation and the Cole County Sheriff’s Department

criminal investigation. “If a witness … answers a question that both he and the government should

reasonably expect to incriminate him, the Court need ask only whether the particular disclosure

was ‘compelled’ within the meaning of the Fifth Amendment.” Minnesota v. Murphy, 465 U.S.

420, 428, 104 S. Ct. 1136, 1142, 79 L. Ed. 2d 409 (1984). There are no facts that suggest the

voluntary testimony given to the Missouri Department of Corrections or the Cole County Sheriff’s

Department were compelled. Plaintiffs have provided probable cause statements which contain

statements made by Defendants regarding the alleged incident. (Doc. 68-1 and 68-2). The Court

finds that Defendants have waived their Fifth Amendment right against self-incrimination to the

extent covered in their voluntary responses to the Missouri Department of Corrections internal

investigation and the Cole County Sheriff’s Department criminal investigation. For the reasons

stated, Plaintiffs may pursue questioning on topics voluntarily given by Defendants Leggins and

Case based on their responses to the Missouri Department of Corrections and Cole County

Sheriff’s Department.

II.    Motion to Stay Proceedings



                                                 5
      Case 2:24-cv-04107-MDH           Document 104         Filed 04/03/25      Page 5 of 10
        Defendants argue that given the interrelatedness of the civil and criminal cases there is no

reasonable way for Defendants to selectively assert their Fifth Amendment right against self-

incrimination or otherwise effectively defendant both cases. Plaintiffs argue that Defendants have

failed to make a strong showing that the two proceedings so interrelated that they cannot protect

themselves at the civil trial by selectively invoking their Fifth Amendment right.

        “[A] stay of a civil case to permit conclusion of a related criminal prosecution has been

characterized as an extraordinary remedy.” Aldridge v. City of St. Louis, Missouri, No. 4:18-CV-

1677 CAS, 2020 WL 223928, at *3 (E.D. Mo. Jan. 15, 2020) (quoting Liggins v. Cohen, 4:16-CV-

413 AGF, slip op. at 3 (E.D. Mo. Mar. 8, 2018)). The decision whether to say civil litigation in

deference to parallel criminal proceedings is discretionary and requires the Court to “assess and

balance the nature and substantiality of the injustices claimed on either side.” Id. (quoting General

Dynamics Corp. v. Selb Mfg. Co., 481 F.2d 1204, 1214-15 (8th Cir. 1973)). The Eighth Circuit has

not specified a set of factors to analyze whether a stay is necessary in light of parallel criminal

proceedings. Id. However, district courts in the Eighth Circuit have generally considered the

following factors adopted by the Ninth Circuit:

        (1) The interest of the plaintiffs in proceeding expeditiously with this litigation or
        any particular aspect of it and the potential prejudice to plaintiffs of a delay; (2) the
        burden which any particular aspect of the proceedings may impose on defendants;
        (3) the convenience of the court in the management of its cases and the efficient
        use of judicial resources; (4) the interests of person not parties to the civil litigation
        and (5) the interest of the public in the pending civil and criminal litigation.

White v. Feaman, 2018 WL 5831261, at *2 (E.D. Mo. Nov. 7, 2018) (quoting Keating v. Office of

Thrift Supervision, 45 F.3d 322, 325 (9th Cir. 1995)). The Court will examine each factor as it

relates to the current action.

    a. Interest of Plaintiffs




                                                    6
      Case 2:24-cv-04107-MDH             Document 104          Filed 04/03/25       Page 6 of 10
       Defendants argue that Plaintiffs’ claims are for money damages and those claims will

survive the resolution of the criminal proceedings against Defendants. Plaintiffs argue they have a

legitimate interest in the expeditious resolution of their case. Additionally, Plaintiffs argue they

have a compelling interest in the prompt resolution of their cases as it seeks to vindicate vital

constitutional rights and uncover the full scope of Defendants’ actions.

       According to records available on Missouri Case.net, the state criminal case is not set for

either Defendant Leggins or Defendant Case. Both Defendants have a plea/trial setting hearing

scheduled for April 14, 2025. The parties have not suggested how long it may be before the

criminal case is resolved. The Court finds that Plaintiff would suffer prejudice and unnecessary

delay by a stay of all proceedings in this case. Plaintiff’s prejudice and delay would be lessened

by allowing discovery to proceed as to the other defendants. For the reasons stated, the Court finds

this factor weights against a delay of all proceedings in the case.

   b. Burden on Defendants

       Defendants argue both risk self -incrimination in answering written discovery or deposition

questions because the complaint and the charges in their respective indictments are so intertwined

and overlap to such a significant degree. Plaintiffs argue there is minimal prejudice to Defendants

in proceeding with discovery. Specifically, Plaintiffs argue that the Fifth Amendment does not

exist to shield Defendants from the consequences of their actions to give them an advantage in

civil litigation. Further, there are protections for Defendants’ Fifth Amendment rights without the

need to delay the civil proceedings such as sealing sensitive discovery or limiting the use of

deposition testimony. Finally, Defendants points to the video evidence in this case that mitigates

any potential prejudice to the Defendants in the civil case.




                                                  7
      Case 2:24-cv-04107-MDH            Document 104           Filed 04/03/25   Page 7 of 10
       There is no dispute that the criminal prosecution and civil case arise out of the same facts

and involve nearly identical issues and witnesses. Both Defendants have been indicted and a “stay

of a civil case is most appropriate where a party to the civil case has already been indicted for the

same conduct.” Aldridge v. City of St. Louis, Missouri, No. 4:18-CV-1677 CAS, 2020 WL 223928,

at *4 (E.D. Mo. Jan. 15, 2020) (quoting S.E.C. v. Gerhardt, 2007 WL 1452236, at *2 (E.D. Mo.

May 15, 2007)). However, the Court finding that Defendants have already waived their Fifth

Amendment right against self-incrimination as to the topics they have already voluntarily

discussed the Court finds that Defendants have not made a strong showing the actions are so

interrelated they cannot protect themselves in civil discovery and at trial by selectively invoking

their Fifth Amendment right. The Court finds this factor weighs in favor of Plaintiffs.

   c. Convenience of the Court

       Defendants argue that a stay of this proceeding pending the outcome of the criminal case

against Defendants would enhance judicial economy and efficiency by allowing for more efficient

discovery because the likelihood of Fifth Amendment invocations in response to civil discovery

could be reduced. Plaintiffs argue the Court has a strong interest in moving this case towards its

conclusion without unnecessary delay.

       Plaintiff is correct that this Court has a strong interest in managing its docket and keeping

litigation moving without unnecessary delay. Given the facts and circumstances of this case the

Court finds that giving Defendants a partial stay would not require the expenditure of significant

judicial resources and could potentially simplify the issues or resolve liability questions in the civil

proceedings. See e.g., Ruszczyk v. Noor, 2018 WL 4759838, at *5 (finding stay in case where there

was substantial overlap between criminal proceedings and Section 1983 civil claims against same

defendant would conserve judicial resources, would likely lead to relevant discovery for the civil



                                                   8
      Case 2:24-cv-04107-MDH            Document 104         Filed 04/03/25       Page 8 of 10
proceedings, and could possibly simplify the issues or resolve liability questions in the civil

proceedings.). Plaintiffs would still be allowed to continue discovery towards those Defendants

other than Leggins and Case. The Court finds this factor weighs slightly in favor of Defendants.

    d. Interests of Persons Not Parties to the Civil Litigation and the Public

        Defendants argue the public interest in law enforcement outweighs the competing interest

of Plaintiff’s right to a reasonably prompt determination of his claims. Defendant further argues

that there is no imminent threat of harm to the public at large, and no basis to weight these factors

against a stay. Plaintiffs argue the public has a vested interest in the timely progression of this case,

which raises significant constitutional issues under Section 1983 and Monell v. Department of

Social Services, 436 U.S. 658 (1978).

        Neither Defendants nor Plaintiffs make an argument as it relates to the interests of persons

not parties to the civil litigation. With respect to interests of persons not parties to the civil litigation

the Court finds that factor neutral. Regarding the interest of the public the Court recognizes the

public interest in the prompt resolution of this civil matter. See e.g., Ruszczyk v. Noor, 2018 WL

4759838, at *6. The Court also recognized the public interest in ensuring that the integrity of the

criminal process is not subverted. See e.g., State Farm Mut. Auto. Ins. Co. v. Healthcare

Chiropractic Clinic, Inc., 2016 WL 9307608, at *6 (D. Minn. Apr. 26, 2016). The Court finds that

the fifth factor to be neutral.

                                             CONCLUSION

        The Court having assessed the five factors for a stay of proceedings in an interrelated civil

and criminal case find a stay of proceedings is not warranted. For the reasons stated, Defendants

Motion to Stay Proceedings as to Defendant Leggins and Defendant Case is DENIED.




                                                     9
      Case 2:24-cv-04107-MDH              Document 104          Filed 04/03/25        Page 9 of 10
IT IS SO ORDERED.

DATED: April 3, 2025                     /s/ Douglas Harpool
                                         DOUGLAS HARPOOL
                                         UNITED STATES DISTRICT JUDGE




                                    10
    Case 2:24-cv-04107-MDH   Document 104   Filed 04/03/25   Page 10 of 10
